                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA            )
                                    )                    Case No. 3:08CR252
v.                                  )
                                    )
(1) CARLA LOWRY,                    )
(4) EDWARD MCCRAY,                  )
(5) DARYL FLOYD,                    )
(7) STEPHEN HALEY,                  )
(8) ROBERT ABBOTT,                  )
(10) RICHARD ALBINO.                )
____________________________________)


                              ORDER AMENDING RESTITUTION

        This matter is before the Court on the Government=s Motion to Amend Restitution.

Having reviewed the bases for amendment set forth in the Motion, the Court finds that

amendment of restitution is necessary to ensure final determination of losses as set forth in 18

U.S.C. ' 3664(d)(5) and amendment is necessary because there is good cause for the failure to

include all victim losses in the initial claim for restitutionary relief.



        IT IS THEREFORE ORDERED that the restitution judgments in this case against

defendants Carla Lowry, Edward McCray, Daryl Floyd, Stephen Haley, Robert Abbott, and

Richard Albino shall be amended to omit Key Bank, to reduce the Centrix loss amount, and to

include all victims.



        Thus, the restitution judgments are amended to reflect restitution to victims as follows:




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NAME OF PAYEE                     AMOUNT OF RESTITUTION ORDERED
Triad Financial                   $262,638.20
Capital One                       $292,812.37
Centrix Financial                 $97,696.34
Ford Financial                    $15,317.36
Regional Acceptance               $6,629.79
National Auto Finance             $19,845.29
Americredit                       $276,828.96

      IT IS SO ORDERED.

                                     Signed: November 11, 2010




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